Case 2:20-cv-13134-LVP-RSW ECF No. 4, PageID.837 Filed 11/27/20 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRCT OF MICHIGAN

TIMOTHY KING,   MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES    JAMES    RITCHARD,
JAMES DAVID HOOPER and DAREN                 Case No. 2:20-cv-13134 LVP-RSW
WADE RUBINGH,
                                             Hon. Linda V. Parker
      Plaintiffs.
v.
GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State and the Michigan BOARD OF
STATE CANVASSERS.
      Defendants.




                         NOTICE OF APPEARANCE
      PLEASE TAKE NOTICE that Nathan Fink of Fink Bressack hereby enters

an appearance on behalf of Intervenor-Defendant City of Detroit.

                                                  Respectfully submitted,

                                                  FINK BRESSACK
DATED: November 27, 2020
                                                  _/s/ Nathan Fink (P75185)
                                                  David H. Fink (P28235)
                                                  Darryl Bressack (P67820)
                                                  Nathan J. Fink (P75185)
                                                  Attorneys for Intervenor-Defendant
                                                  City of Detroit
                                                  38500 Woodward Ave., Ste. 350
                                                  Bloomfield Hills, MI 48304
Case 2:20-cv-13134-LVP-RSW ECF No. 4, PageID.838 Filed 11/27/20 Page 2 of 3




                                             Tel: (248) 971-2500
                                             dfink@finkbressack.com
                                             dbressack@finkbressack.com
                                             nfink@finkbressack.com
Case 2:20-cv-13134-LVP-RSW ECF No. 4, PageID.839 Filed 11/27/20 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2020, I electronically filed the foregoing

paper with the Clerk of the court using the ECF system which will send notification

of such filing to all counsel of record registered for electronic filing.

                                                FINK BRESSACK

                                                By: /s/ John L. Mack (P80710)
                                                David H. Fink (P28235)
                                                Darryl Bressack (P67820)
                                                Nathan J. Fink (P75185)
                                                38500 Woodward Ave., Ste. 350
                                                Bloomfield Hills, MI 48304
                                                Tel: (248) 971-2500
                                                dfink@finkbressack.com
                                                dbressack@finkbressack.com
                                                nfink@finkbressack.com
                                                Attorneys for Intervenor-Defendant
                                                City of Detroit
